              Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 1 of 29



                                                                   The Honorable Marsha J. Pechman
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 8                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 9                                        AT SEATTLE
10
     YOLANY PADILLA, on behalf of herself and her
11
     6-year-old son J.A.; IBIS GUZMAN, on behalf of herself            No. 2:18-cv-928 MJP
12   and her 5-year-old son R.G.; BLANCA ORANTES, on
     behalf of herself and her 8-year-old son A.M.; BALTAZAR
13   VASQUEZ, on behalf of himself;                                    DEFENDANTS’ MOTION
                                             Plaintiffs-Petitioners,   TO DISMISS
14
             v.
15
     U.S. IMMIGRATION AND CUSTOMS ENFORCEMENT                          NOTE ON MOTION
16   (“ICE”); U.S. DEPARTMENT OF HOMELAND                              CALENDAR: SEPTEMBER 28,
     SECURITY (“DHS”); U.S. CUSTOMS AND BORDER                         2018.
17
     PROTECTION (“CBP”); U.S. CITIZENSHIP AND
18   IMMIGRATION SERVICES (“USCIS”); EXECUTIVE
     OFFICE FOR IMMIGRATION REVIEW (“EOIR”);
19   THOMAS HOMAN, Acting Director of ICE; KIRSTJEN
     NIELSEN, Secretary of DHS; KEVIN K. McALEENAN,
20
     Acting Commissioner of CBP; L. FRANCIS CISSNA,
21   Director of USCIS; MARC J. MOORE, Seattle Field Office
     Director, ICE, JEFFERSON BEAUREGARD
22   SESSIONS III, United States Attorney General; LOWELL
     CLARK, warden of the Northwest Detention Center in
23
     Tacoma, Washington; CHARLES INGRAM, warden of the
24   Federal Detention Center in SeaTac, Washington; DAVID
     SHINN, warden of the Federal Correctional Institute in
25   Victorville, California; JAMES JANECKA, warden of the
     Adelanto Detention Facility;
26
27                                       Defendants-Respondents.

28

                                                   i                     Department of Justice, Civil Division
                                                                          P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
                      Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 2 of 29



                                                             TABLE OF CONTENTS
 1
 2
 3   INTRODUCTION .......................................................................................................................... 1
 4   LEGAL BACKGROUND .............................................................................................................. 1
 5
     ALLEGATIONS OF THE COMPLAINT...................................................................................... 3
 6
     LEGAL STANDARD..................................................................................................................... 5
 7
 8   ARGUMENT .................................................................................................................................. 6

 9         I.     The credible fear interview (CFI) claims should be dismissed............................................ 6
10
                A.       The court lacks jurisdiction over Plaintiffs’ claims challenging the timing of
11
                credible fear interviews under 8 U.S.C. § 1252(a)(2)(A) (Counts I & II). ....................... 6
12
                B.       The CFI class’s constitutional claim (Count I) also must be dismissed for lack of
13
                jurisdiction as there has been no waiver of sovereign immunity for the claim and it is
14
                not appropriately raised through a 28 U.S.C. § 2241 habeas petition. ............................ 8
15
16              D.       The CFI class’s APA claims should be dismissed for failure to state a claim

17              (Count II). ............................................................................................................................ 11

18   II.          The bond hearing class claims should be dismissed. ......................................................... 14
19              A.       The bond hearing class’s constitutional claim must be dismissed for failure to
20              state a claim (Count I). ....................................................................................................... 14
21
                B.       The bond hearing class’s APA claims should be dismissed (Count II)................ 19
22
                C.       None of the individual Plaintiffs can state a claim for relief based on the timing
23
                of their bond hearings or the procedures available under section 1226(a). .................. 21
24
25   III.         The court should dismiss Count III in its entirety under both Rule 12(b)(6) and 12(b)(1).

26                21

27              A.       The court lacks jurisdiction over Plaintiffs’ claims brought pursuant to asylum
28              law. 21

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     DEFENDANTS’ MOTION TO DISMISS                                                                                Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                                                     (202) 616-4458
                  Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 3 of 29




 1          B.        The Complaint does not plead any violation of asylum law. ................................ 23
 2   IV.       The court should strike Plaintiffs’ request for class-wide injunctive relief for lack of
 3   jurisdiction. ................................................................................................................................... 23
 4
     CERTIFICATE OF SERVICE ..................................................................................................... 26
 5
 6
 7
 8
 9
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11
12
13
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15
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17
18
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22
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24
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                                                                        iii                              Department of Justice, Civil Division
                                                                                                          P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                                                  (202) 616-4458
              Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 4 of 29




 1                                            INTRODUCTION
 2           Plaintiffs, individually and on behalf of two proposed nationwide classes, seek to graft two
 3   new, inflexible and unworkable deadlines into the Immigration and Nationality Act (INA) without
 4   the hassle of legislative action or agency rulemaking. Specifically, Plaintiffs and a class of aliens
 5   apprehended at or near ports of entry with pending credible fear interviews (the CFI class) assert
 6   an absolute right, regardless of any other fact or circumstance, to receive a credible fear interview
 7   within ten days of claiming fear of returning to their home country. In addition, Plaintiffs and their
 8   putative class of aliens found to have a credible fear of persecution or torture after surreptitiously
 9   crossing into the United States (the bond hearing class) claim a right to receive bond hearings
10   within seven days of a request. The court should dismiss both sets of claims.
11           The court lacks jurisdiction to impose deadlines in the credible fear process or to enjoin
12   the operation of the INA’s bond procedure on a class-wide basis under 8 U.S.C. § 1252(a)(2)(A),
13   (e), and (f)(1). Plaintiffs have also failed to properly identify causes of action to support their
14   claims. Plaintiffs’ credible fear claims are not challenges to their custody and therefore are not
15   properly raised under 28 U.S.C. § 2241 and none of Plaintiffs’ claims are challenges to “final
16   agency actions” as defined by the Administrative Procedures Act (APA). Jurisdictional issues
17   aside, neither of Plaintiffs’ proposed inflexible deadlines has any basis in the statute, or the
18   attendant regulations; nor can they be justified on the basis of the highly-adaptable Due Process
19   Clause. Plaintiffs are all aliens apprehended at or near ports of entry, and therefore lack any
20   cognizable interest in release into the United States, and a fortiori lack sufficient interest to support
21   Plaintiffs’ claims for immediate action. Accordingly, Plaintiffs’ claims should be dismissed
22   pursuant to Federal Rule of Civil Procedure 12(b)(1) or (6).
23                                        LEGAL BACKGROUND
24           8 U.S.C. 1225(b) requires that aliens like the CFI class who are “encountered within 14
25   days of entry without inspection and within 100 air miles of any U.S. international land border,” 8
26   U.S.C. § 1225(b)(1)(A)(i) & (iii); 69 Fed. Reg. 48877-01 (Aug. 11, 2004); 82 Fed. Reg. 4902 (Jan.
27   17, 2017), who are inadmissible under 8 U.S.C. §§ 1182(a)(6)(C) or (a)(7), are subject to
28   inspection to determine their admissibility to the United States. If an alien seeking admission is

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     DEFENDANTS’ MOTION TO DISMISS                                                Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                     (202) 616-4458
              Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 5 of 29




 1   determined to be inadmissible, such alien “shall be detained” pending their immigration
 2   proceedings. 8 U.S.C. § 1225(b)(2). Such aliens who are inadmissible on grounds of fraud or
 3   misrepresentation, or for lack of proper documentation, may be placed into expedited removal
 4   proceedings, pursuant to 8 U.S.C. § 1225(b)(1). These aliens are subject to removal without a
 5   formal hearing before an immigration judge. 8 U.S.C. § 1225. However, if an alien subject to
 6   expedited removal indicates to the immigration officer that he fears persecution or torture if
 7   returned to his home country, the officer shall refer the alien for an interview by an asylum officer
 8   with the U.S. Department of Homeland Security, U.S. Citizenship and Immigration Services
 9   (“USCIS”), to determine if he has a credible fear of persecution or torture. Id. § 1225(b)(1)(A)(ii)
10   & (B)(ii); 8 C.F.R. § 208.30(d). If the alien cannot show a credible fear of persecution or torture—
11   i.e., a significant possibility that he or she could establish eligibility for asylum under 8 U.S.C.
12   § 1158 or for withholding of removal under 8 U.S.C. 1231(b)(3) or protection under the
13   Convention Against Torture—before the asylum officer, the asylum officer “shall order the alien
14   removed from the United States without further hearing or review.” 8 U.S.C. §
15   1225(b)(1)(B)(iii)(I). An alien may petition an immigration judge (IJ) for de novo review of a
16   negative finding. Id. § 1225(b)(1)(B). If the alien establishes a credible fear, the alien “shall be
17   detained for further consideration of the application for asylum” by an IJ, 8 U.S.C. §
18   1225(b)(1)(B)(ii), and is issued a notice to appear before the IJ, where he may seek any relief from
19   removal for which he is eligible.
20          By statute, “[a]ny alien subject to the procedures under [Section 1225(b)(1)] shall be
21   detained pending a final determination of credible fear of persecution and, if found to not have
22   such a fear, until removed.” 8 U.S.C. § 1225(b)(1)(B)(iii)(IV) (emphasis added); see INA, ch. 477,
23   Tit. II, § 235(b), 66 Stat. 199 (similar); Immigration Act of 1917 (1917 Act), ch. 29, § 16, 39 Stat.
24   886 (similar). For those aliens who are going through the credible fear process, parole is available
25   only when “required to meet a medical emergency or is necessary for a legitimate law enforcement
26   objective.” 8 C.F.R. § 235.3(b)(4)(ii).
27          Those aliens who were apprehended between the ports of entry, placed into expedited
28   removal, and were found to have a credible fear may be eligible for a custody determination by

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     DEFENDANTS’ MOTION TO DISMISS                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
               Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 6 of 29




 1   DHS, and, subsequently, a bond hearing before an IJ. Matter of X-K-, 23 I. & N. Dec. 731 (BIA
 2   2005); see also 8 C.F.R. § 1003.19(h)(2). Thus, these aliens, once placed into removal proceedings
 3   pursuant to 8 U.S.C. § 1229a, are considered for release in accordance with the standards in 8
 4   U.S.C. § 1226(a).
 5            Every alien detained pursuant to section 1226(a) is individually considered for release on
 6   bond by an ICE officer and served with a custody determination form. 8 C.F.R. § 236.1(c)(8). If
 7   the officer denies bond (or sets a bond the alien thinks is too high), the alien may ask an IJ for a
 8   redetermination of the custody decision by checking a box on the custody determination form. 8
 9   C.F.R. §§ 236.1(d)(1), 1003.19, 1236.1(d)(1). At the bond hearing, the alien has the burden of
10   demonstrating that they are not a flight risk or a danger to the community in order to obtain release.
11            The alien may appeal the IJ’s custody redetermination to the BIA. 8 C.F.R.
12   § 236.1(d)(3)(i), 1236.1(d)(3)(i). Although bond hearings are generally not recorded, if either party
13   appeals the IJ’s bond decision, the IJ will prepare a written bond memorandum that sets forth the
14   grounds for the bond determination. See Immigration Court Practice Manual, § 9.3(e)(vii)
15   available at https://www.justice.gov/eoir/page/file/1084851/download (last accessed September 6,
16   2018).
17            An alien who remains detained under section 1226(a) may later obtain another custody
18   determination whenever “circumstances have changed materially since the prior bond
19   redetermination.” 8 C.F.R. § 1003.19(e). There is no limit to the number of changed circumstances
20   bond hearings an alien may request.
21                               ALLEGATIONS OF THE COMPLAINT
22            Plaintiffs challenge, individually and on behalf of a class of similarly-situated individuals
23   (1) the absence of a governmental policy of providing credible fear interviews to every alien
24   apprehended at or near a port of entry, within ten days of the alien expressing a fear of returning
25   to their country of origin; and (2) the absence of a governmental policy requiring bond hearings

26   (meeting certain additional procedural requirements) for every such alien found to have a credible

27   fear after entering the United States without inspection within seven days of requesting bond. ECF

28   No. 26. Plaintiffs challenge these two “policies” as violating the Due Process Clause, the

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                                                                           P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
               Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 7 of 29




 1   Administrative Procedures Act (APA), and “the federal asylum statutes.” Id. Plaintiffs contend
 2   that the court has jurisdiction to review their claims under federal question jurisdiction, habeas
 3   jurisdiction, and the Suspension Clause. Id. at ¶ 13.
 4            Plaintiff Yolany Padilla entered the United States without inspection on May 18, 2018, was
 5   apprehended shortly thereafter, and expressed fear of returning to Honduras. Id. at ¶ 40. She was

 6   interviewed by an asylum officer on July 2, 2018, and determined to have a credible fear one day

 7   later. ECF No. 12 at 10. She became eligible for a bond hearing under Matter of X-K- on July 3,

 8   2018, and was granted a bond hearing two business days later on July 6, 2018. ECF No. 26 at ¶

 9   66. She was awarded bond in the amount of $8,000.00. ECF No. 12 at 12. She posted bond and

10   was released the same day. ECF No. 26 at ¶ 66. She waived appeal of her bond order. ECF No. 12

11   at 12.

12            Plaintiff Ibis Guzman entered the United States without inspection on May 16, 2018, was

13   apprehended shortly thereafter, and expressed fear of returning to Honduras. ECF No. 26 at ¶ 42.

14   She was interviewed by an asylum officer on June 27, 2018, and determined to have a credible

15   fear one day later. Id. at ¶ 99. She became eligible for a bond hearing under Matter of X-K- on June

16   28, 2018, and was granted a bond hearing two business days later on July 3, 2018. ECF No. 12 at

17   32. At the hearing she was represented by counsel, but ultimately denied bond. Id. Guzman

18   reserved appeal, but did not continue her appeal because she was released by Immigration and

19   Customs Enforcement (ICE) in late July 2018. ECF No. 26 at ¶ 119.

20            Plaintiff Blanca Orantes entered the United States without inspection on May 21, 2018,

21   was apprehended shortly thereafter, and expressed fear of returning to El Salvador. ECF No. 26 at

22   ¶ 44. She was interviewed by an asylum officer on June 27, 2018, and determined to have a credible

23   fear one day later. Id. at ¶ 102. She became eligible for a bond hearing under Matter of X-K- on

24   June 28, 2018, and was granted a bond hearing eleven business days later on July 16, 2018. ECF
     No. 26 at ¶ 121. She was denied bond and reserved appeal. Orantes did not continue her appeal
25
     because she was released by ICE on July 24, 2018. Id. at ¶ 123.
26
              Plaintiff Baltazar Vasquez entered the United States without inspection on June 1, 2018,
27
     was apprehended shortly thereafter, and expressed a fear of returning to El Salvador. ECF No. 26
28

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     DEFENDANTS’ MOTION TO DISMISS                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
              Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 8 of 29




 1   at ¶ 46. He was interviewed by an asylum officer on July 31, 2018, and determined to have a
 2   credible fear the same day. Id. at ¶ 108. He became eligible for a bond hearing under Matter of X-
 3   K- on July 31, 2018, and was granted a bond hearing three weeks later on August 20, 2018. Id. at
 4   ¶ 125. He stipulated to a bond in the amount of $8,000.00, and was released. Exhibit A, Vasquez
 5   Bond Order. He waived appeal of the bond order. Id.

 6          Plaintiffs Padilla, Guzman, and Orantes had bond hearings in the Tacoma, Washington,

 7   immigration court. Plaintiff Vasquez’s bond hearing took place at the Adelanto, California

 8   immigration court.

 9                                          LEGAL STANDARD

10          “It is axiomatic that ‘[f]ederal courts are courts of limited jurisdiction. They possess only

11   that power authorized by the Constitution and statute, which is not to be expanded by judicial

12   decree.’” Vacek v. United States Postal Serv., 447 F.3d 1248, 1250 (9th Cir. 2006) (quoting

13   Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994)). “It is to be presumed that

14   a cause lies outside this limited jurisdiction, and the burden of establishing the contrary rests upon

15   the party asserting jurisdiction.” Id.; see also Thompson v. McCombe, 99 F.3d 352, 353 (9th Cir.

16   1996). Under Federal Rule of Civil Procedure 12(b)(1), a defendant may challenge the plaintiff’s

17   jurisdictional allegations in one of two ways: (1) a “facial” attack that accepts the truth of the

18   plaintiff’s allegations but asserts that they are insufficient on their face to invoke federal

19   jurisdiction, or (2) a “factual” attack that contests the truth of the plaintiff’s factual allegations,

20   usually by introducing evidence outside the pleadings. Leite v. Crane Co., 749 F.3d 1117, 1121-

21   22 (9th Cir. 2014); see also Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004);

22   Fed. R. Civ. P. 12(b)(1).

23          A complaint may also be dismissed under Rule 12(b)(6) if it fails to allege a cognizable

24   legal theory or fails to plead “enough facts to state a claim to relief that is plausible on its face.”

25   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 569 (2007). “A claim has facial plausibility when the

26   plaintiff pleads factual content that allows the court to draw the reasonable inference that the

27   defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

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     DEFENDANTS’ MOTION TO DISMISS                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
              Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 9 of 29




 1                                              ARGUMENT
 2   I.     The credible fear interview (CFI) claims should be dismissed.
 3          A.      The court lacks jurisdiction over Plaintiffs’ claims challenging the timing of
                    credible fear interviews under 8 U.S.C. § 1252(a)(2)(A) (Counts I & II).
 4
            Section 1252(a)(2)(A) precludes this court’s review of the CFI class’s claim that credible
 5
     fear interviews must take place within ten days of the individual making a fear claim. The INA
 6
     requires that any challenge to “procedures and policies adopted by the [Secretary of Homeland
 7
     Security] to implement the provisions of section 1225(b)(1)” must be brought in accordance with
 8
     section 1252(e). 8 U.S.C. § 1252(a)(2)(A)(iv); see 8 U.S.C. § 1252(a)(2)(A)(i) (channeling
 9
     jurisdiction over “any cause or claim arising from or relating to the implementation or operation
10
     of an order of removal pursuant to section 1225(b)(1)” through section 1252(e)); see also 6 U.S.C.
11
     §§ 202, 291, 557 (transferring responsibility to the Secretary). Plaintiffs’ CFI claims do not
12
     comport with section 1252(e) and therefore must be dismissed for lack of jurisdiction.
13
            Section 1252(e) provides two carefully-narrowed avenues to challenge procedures
14
     associated with the implementation of section 1225(b)(1) in individual (but not class) actions. See
15
     8 U.S.C. § 1252(e)(1)-(3). First, section 1252(e)(2) provides for individual habeas corpus review
16
     of expedited removal orders for three issues: “(A) whether the petitioner is an alien; (B) whether
17
     the petitioner was ordered removed under [the expedited removal statute, 8 U.S.C. § 1225], and
18
     (C) whether the petitioner can prove by a preponderance of the evidence that the petitioner is an
19
     alien lawfully admitted for permanent residence, has been admitted as a refugee..., or has been
20   granted asylum[.]” 8 U.S.C. § 1252(e)(2)(A)–(C). Second, section 1252(e)(3) authorizes
21   challenges to the implementation of section 1225(b)(1). These challenges are limited to the
22   questions of (1) “whether [section 125(b)(1)], or any regulation issued to implement such section,
23   is constitutional” and (2) “whether such a regulation, or a written policy directive, written policy
24   guideline, or written procedure issued by or under the authority of the [the Secretary] to implement
25   such section, is not consistent with applicable provisions of this subchapter or is otherwise in
26   violation of law.” 8 U.S.C. § 1252(e)(3)(A). Any action instituted under section 1252(e)(3),
27   however, must be filed in the District Court for the District of Columbia and brought “no later than
28   60 days after the date the challenged section, regulation, directive, guideline, or procedure . . . is

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     DEFENDANTS’ MOTION TO DISMISS                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 10 of 29




 1   first implemented.” Id. § 1252(e)(3)(B).
 2          Plaintiffs’ challenges fall squarely within the scope of section 1252(a)(2)(A)’s list of
 3   “[m]atters not subject to judicial review” and outside of section 1252(e)’s clearly-delineated
 4   exceptions. Section 1252(a)(2)(A) applies to any challenges “notwithstanding any other of
 5   provision of law (statutory or non-statutory) including section 2241 of title 28, or any other habeas

 6   provision, and sections 1361 and 1651 of such title,” and plainly encompasses Plaintiffs’ causes

 7   of actions. See ECF No. 26 at ¶ 13. Plaintiffs’ claims are undeniably challenges to “policies or

 8   procedures” they assert were adopted by the Secretary in administering section 1252(b)(1). See,

 9   e.g., ECF No. 26 ¶ 4. Plaintiffs’ CFI challenges are likewise barred by section 1252(a)(2)(A)(i) as

10   they “aris[e] from or relat[e] to the implementation or operation of an order of removal pursuant

11   to section 1225(b)(1).” Notably, every CFI class member, at all times prior to the credible fear

12   interview, is subject to an expedited removal order under section 1225(b)(1). Accordingly, any

13   challenge to the process employed during the credible fear screening process necessarily “aris[es]

14   from or relat[es] to” to a decision to implement the expedited order of removal. Thus, Plaintiffs’

15   claims are within the scope of sections 1252(a)(2)(A)(i), (iv) and may only be raised in a manner

16   consistent with section 1252(e).

17          Plaintiffs’ claims do not fall within section 1252(e) exceptions. Plaintiffs do not bring

18   individual claims, but purport to bring claims on behalf of a class of aliens. This is plainly barred

19   by section 1252(e)(1) which prohibits any class certified under Federal Rule Civil Procedure 23

20   from bringing a challenge that falls within the scope of either section 1252(a)(2)(A), or in turn

21   under sections 1252(e)(2) or (3). Plaintiffs’ claims are also outside of the scope of section

22   1252(e)(2). As the Ninth Circuit has held, courts lack jurisdiction to consider any collateral

23   challenge to an individual expedited removal order beyond the three permissible bases identified

24   in section 1252(e)(2). Garcia de Rincon v. Dep’t of Homeland Sec., 539 F.3d 1133, 1140 (9th Cir.
     2008). But Plaintiffs do not claim that they are citizens; they are not subject to expedited removal
25
     orders; and they were not previously admitted as lawful permanent residents, refugees, or asylees.
26
     See 8 U.S.C. § 1252(e)(2)(A)–(C). Rather, their request that they received expedited credible fear
27
     hearings implicitly concedes that they are properly subject to section 1225(b)(1) procedures. They
28

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     DEFENDANTS’ MOTION TO DISMISS                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 11 of 29




 1   are therefore not raising claims permitted under section 1252(e)(2). Finally, there is no basis for
 2   jurisdiction under section 1252(e)(3) as jurisdiction for such systemic challenges is limited to the
 3   District of Columbia and “must be filed no later than 60 days after the date the challenged section,
 4   regulation, directive, guideline, or procedure described in [section 1252(e)(3)(A)(i) or (ii)] is first
 5   implemented.” 8 U.S.C. § 1252(e)(3)(A); de Rincon, 539 F.3d at 1141 n.5. Thus, this Court lacks

 6   jurisdiction over Plaintiffs’ CFI claims under section 1252(a) and (e) and they should be dismissed.

 7           B.      The CFI class’s constitutional claim (Count I) also must be dismissed for lack
                     of jurisdiction as there has been no waiver of sovereign immunity for the claim
 8                   and it is not appropriately raised through a 28 U.S.C. § 2241 habeas petition.
 9           Plaintiffs’ constitutional claim must be dismissed for lack of jurisdiction. In Count I,
10   Plaintiffs assert a Fifth Amendment due process claim without identifying any appropriate waiver
11   of sovereign immunity to permit suit against the federal government on the claim. Cf. Chacity v.
12   Tillerson, 285 F. Supp. 3d 293 (2018) (discussing the difference between the claim, jurisdictional
13   statute, and a waiver of sovereign immunity). The United States, as a sovereign, is immune from
14   suit unless it has waived its immunity.” Consejo de Desarrollo Economico de Mexicali, A.C. v.
15   United States, 482 F.3d 1157, 1173 (9th Cir. 2007). “When the United States consents to be sued,
16   the terms of its waiver of sovereign immunity define the extent of the court’s jurisdiction.” United
17   States v. Mottaz, 476 U.S 834, 841 (1986). Because Plaintiffs sue United States officials overseeing
18   agencies in their official capacities, their complaint operates as a suit against the United States.
19   Ministerio Roca Solida v. McKelvey, 820 F.3d 1090, 1095 (9th Cir. 2016) (citing Farmer v. Perrill,
20   275 F.3d 958, 963 (10th Cir. 2001)). Plaintiffs bear the burden of establishing the existence of an
21   unequivocal waiver of sovereign immunity. See, e.g., Baker v. United States, 817 F.2d 560, 562
22   (9th Cir. 1987).
23           The Fifth Amendment does not itself confer jurisdiction on the Court to hear this claim.
24   See Jaffee v. United States, 592 F.2d 712, 717–18 (3d Cir. 1979) (the Constitution does not provide
25   a waiver of sovereign immunity), cert. denied, 441 U.S. 961 (1979); Chen v. United States, 854
26   F.2d 622, 625–26 (2d Cir.1988) (government's waiver of sovereign immunity under FTCA does
27   not extend to claims based on “direct violations of the Federal Constitution . . . or of federal statutes
28   or regulations standing alone”). Therefore, Plaintiffs must either establish habeas jurisdiction over

                                                    8                       Department of Justice, Civil Division
                                                                             P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                                Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                     (202) 616-4458
               Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 12 of 29




 1   the claim or identify an appropriate waiver of sovereign immunity. Although the Complaint
 2   correctly identifies the APA as a waiver of sovereign immunity for certain constitutional claims,
 3   as discussed in Part I.D., it is not appropriate for this claim because the claim falls outside of the
 4   scope of the APA’s waiver. To the extent that Plaintiffs rely on the APA as the waiver of sovereign
 5   immunity for Count I, Count I is subsumed by Count II and should be dismissed for the same
 6   reasons. As such, at the least Plaintiffs must satisfy the pleading requirements for Count II to raise
 7   Count I. See 5 U.S.C. 706 (2)(b); see also United States v. Weston, 255 F.3d 873, 880 (D.C. Cir.
 8   2001)).
 9             Plaintiffs’ general invocation of habeas jurisdiction under 28 U.S.C. § 2241 is also not
10   sufficient to support the CFI class’s constitutional claim. Even if section 2241 was not expressly
11   prohibited in this context (see supra Part I.A.), Plaintiffs’ claim for speedier credible fear hearings
12   is not cognizable under section 2241. Jurisdiction under section 2241 is limited to challenges to
13   the fact or duration of detention. Alcala v. Rios, 434 F. App’x 668, 669 (9th Cir. 2011); see 28
14   U.S.C. § 2241(c)(3) (stating detainee must be “in custody in violation of the Constitution or laws
15   or treaties of the United States”); 8 U.S.C. § 2243 (a habeas return need only “certify the true cause
16   of detention”). Here, the cause of the CFI class’s detention is their status as aliens apprehended at
17   or near a port of entry (which they do not contest) and is not directly linked to the timing of the
18   credible fear hearing. Rather, some portion of the putative CFI class will—regardless of any future
19   CFI interview—never become eligible for release because they will not be found to have a credible
20   fear of removal. And, of the CFI class members found to have a credible fear, many are not eligible
21   for bond because they were apprehended at a port of entry. See 8 U.S.C. § 1225(b)(1)(B)(iii)(IV).
22   For those class members, the timing of the credible fear interview does nothing to change bond
23   eligibility. The claims, therefore, are not sufficiently tied to the fact or duration of detention. Count
24   I, therefore, should be dismissed for lack of jurisdiction.
              C.     The CFI class lacks a baseline constitutional entitlement to entry so they
25
                     cannot plausibly state a constitutional entitlement to an interview within ten
26                   days of arrival at a port-of-entry (Counts I & II).

27             Plaintiffs cannot plead any constitutional entitlement to a credible fear hearing within ten

28   days of claiming fear of return to their countries because they lack any constitutional right to enter

                                                    9                       Department of Justice, Civil Division
                                                                             P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                                Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                     (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 13 of 29




 1   or gain admission to the United States at all under settled constitutional principles. The
 2   constitutional (as well as the overlapping APA claim under 5 U.S.C. § 706(2)) should therefore be
 3   dismissed under Rule 12(b)(6).
 4          Plaintiffs are non-admitted aliens who were apprehended shortly after surreptitiously
 5   crossing the border, ECF No. 26 ¶¶ 39-46, and represent a class that includes aliens who never
 6   entered the United States. The Supreme Court has long recognized that Congress exercises
 7   “plenary power to make rules for the admission of aliens and to exclude those who possess those
 8   characteristics which Congress has forbidden.” Kleindienst v. Mandel, 408 U.S. 753, 766 (1972).
 9   And “an alien seeking initial admission to the United States requests a privilege and has no
10   constitutional rights regarding his application.” Landon v. Plascensia, 459 U.S. 21, 32 (1982).
11   Because the issues Plaintiffs seek to challenge all arise from their requests to seek asylum to avoid
12   removal, they lack constitutional rights regarding their attempts to secure admission. See Castro
13   v. DHS, 835 F.3d 422, 445 (2016). As aliens on the threshold of initial entry, their rights are limited
14   to only that procedure provided by Congress. Shaughnessy v. United States ex rel. Mezei, 345 U.S.
15   206, 212 (1953); Barrera v. Rison, 44 F.3d 1441, 1449-50 (9th Cir. 1995) (en banc), cert. denied,
16   516 U.S. 976 (1995). Aliens only “receive constitutional protections when they have come within
17   the territory of the United States and developed substantial connections with this country.” United
18   States v. Verdugo-Urquidez, 494 U.S. 259, 271 (1990).
19          Plaintiffs’ claims for speedier credible fear hearings are requests for particular procedures
20   relating to their applications for admission. They therefore lack a constitutional right to demand
21   expedited procedures for such hearings. Landon, 459 U.S. at 32. They do not allege any previous
22   substantial voluntary connections to the United States that would lead to greater rights, see
23   Verdugo-Urquidez, 494 U.S. at 271, but rather are aliens seeking initial admission and are properly
24   treated as at the threshold of initial entry. See Castro, 835 F.3d at 445; Kwai Fun Wong v. United
25   States, 373 F.3d 952, 971 (9th Cir. 2004) (“[A]n alien seeking admission has not ‘entered’ the
26   United States, even if [he] is in fact physically present.”). As the Ninth Circuit explained, in the
27   context of a similarly situated asylum-seeking alien, he sought “due process protections that go
28   beyond those which Congress has provided him. But, as an alien who has never entered the United

                                                   10                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
              Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 14 of 29




 1   States, those protections are unavailable to him.” Angov v. Lynch, 788 F.3d 893, 898 n.3 (9th Cir.
 2   2015). Because Plaintiffs have no constitutional rights regarding their attempts to gain admission
 3   (including asylum) to the country, and specifically no rights to other procedures than those
 4   provided by Congress for doing so, they lack any constitutional due process right to a credible fear
 5   hearing within ten days, which statute does not provide for. See 8 U.S.C. § 1225(b)(1)(B); infra
 6   I.D.2.
              D.     The CFI class’s APA claims should be dismissed for failure to state a claim
 7
                     (Count II).
 8            Plaintiffs raise two APA claims. Plaintiffs first challenge the government’s alleged failure
 9   to establish timelines for credible fear interviews as an unlawful final agency action subject to
10   review under 5 U.S.C. § 706(a)(2). In addition, Plaintiffs seek to compel the government to provide
11   credible fear interviews within ten days from when a claim of fear of return is made as agency
12   action unreasonably delayed under 5 U.S.C. § 706(a)(1). Both claims should be dismissed.
13                   1. The court lacks jurisdiction over Plaintiffs’ challenge to the timing of credible
14                   fear interviews under section 706(2) because it is not a challenge to a final agency
                     action.
15
              Plaintiffs’ claims challenging the timing of their interviews are not subject to judicial
16
     review under 5 U.S.C. § 701(a)(1) and 706(a)(2) because there has been no final agency action
17
     precluding earlier interviews.
18
              The APA limits when agency action is subject to judicial review. “Agency action made
19
     reviewable by statute and final agency action for which there is no other adequate remedy in a
20
     court are subject to judicial review.” 5 U.S.C. § 704; see Navajo Nation v. Dep’t of the Interior,
21
     876 F.3d 1144, 1171 (9th Cir. 2017) (“[Section] 704's requirement that to proceed under the APA,
22
     agency action must be final or otherwise reviewable by statute is an independent element without
23
     which courts may not determine APA claims.”). “Where no other statute provides a private right
24
     of action, the ‘agency action’ complained of must be ‘final agency action.’” Norton v. S. Utah
25
     Wilderness Alliance, 542 U.S. 55, 61–62 (2004) [hereinafter “SUWA”] (quoting 5 U.S.C. § 704);
26
     see also Fairbanks N. Star Borough v. U.S. Army Corps of Eng’rs, 543 F.3d 586, 591 (9th Cir.
27
     2008) (“final agency action” is a “jurisdictional requirement imposed by statute”).
28

                                                   11                     Department of Justice, Civil Division
                                                                           P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
              Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 15 of 29




 1            An agency action is considered final if two elements are met. First, the action must “mark
 2   the ‘consummation’ of the agency’s decisionmaking process” and, thus, cannot be tentative or
 3   interlocutory. Second, “the action must be one by which ‘rights or obligations have been
 4   determined,’” or from which “legal consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177-
 5   78 (1997). “The imposition of an obligation or the fixing of a legal relationship is the indicium of
 6   finality in the administrative process.” Cabaccang v. U.S. Citizenship & Immigration Servs., 627
 7   F.3d at 1316; Mount Adams Veneer Co. v. United States, 896 F.2d 339, 343 (9th Cir. 1990).
 8   “Indicia of finality include: the administrative action challenged should be a definitive statement
 9   of an agency’s position; the action should have a direct and immediate effect on the day-to-day
10   business of the complaining parties; the action should have the status of law; immediate
11   compliance with the terms should be expected; and the question should be a legal one.” Mt. Adams
12   Veneer Co. v. United States, 896 F.2d 339, 343 (9th Cir. 1989) (citing FTC v. Standard Oil Co.,
13   449 U.S. 232, 239-40 (1980)).
14            Virtually all of these indicia are lacking here. Plaintiffs do not allege any consummation of
15   a decisionmaking process or arrival at a determination that represents a definitive position
16   statement. In fact, Plaintiffs allege that the named plaintiffs each received credible fear hearings at
17   different intervals following requesting asylum and themselves claim that “[t]he federal
18   government has not established any procedural timeframes for providing asylum seekers the
19   credible fear interview and determinations required by federal law.” ECF No. 26 ¶¶ 90, 91, 95, 99,
20   103, 106. Plaintiffs’ allegations do not support an inference that DHS has made a decision
21   determining “rights or obligations” concerning the minimum or maximum time in which an alien
22   must be referred for a credible fear hearing—from which “legal consequences will flow” if such
23   timing is not observed, Bennett, 520 U.S. at 177-78—following request for asylum. Because there
24   is no final agency action at issue, the Court lacks jurisdiction over the APA claims under 5 U.S.C.
25   § 704.
                     2. The Complaint does not plead an unreasonable delay in credible fear hearings
26
                     for either the named Plaintiffs or the CFI class under section 706(1).
27            Plaintiffs cannot plead either an individual or class claim under 5 U.S.C. § 706(1) for the
28

                                                   12                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 16 of 29




 1   “unreasonable delay[]” of their credible fear interviews. The class claims aside, none of the
 2   individual Plaintiffs have a live section 706(1) claim as they have now been provided credible fear
 3   interviews and been released from immigration detention. Plaintiffs cannot state a class claim for
 4   a universal 10-day rule consistent with the appropriate analysis governing their section 706(1)
 5   claims. Accordingly, the Complaint fails to state a claim for relief under section 706(1).
 6          While the APA otherwise requires a party to challenge a final agency action, it also
 7   provides for review of agency inaction where “[t]he reviewing court shall . . . compel agency action
 8   unlawfully withheld or unreasonably delayed.” 5 U.S.C. § 706(1); Norton v. S. Utah Wilderness
 9   All., 542 U.S. 55, 62 (2004). Here, the individual named Plaintiffs acknowledge that they received
10   their credible fear interviews and, instead, retroactively challenge the fact that their interviews did
11   not occur within ten days. But Plaintiffs cannot challenge the timing of an action that has now been
12   completed through section 706(1) because there is no agency action to compel for the individual
13   Plaintiffs. Norton, 542 U.S. at 67–68 (“The actions contemplated . . . have already been completed
14   and these claims are therefore moot.”).
15          The CFI class’s claim also fails as a matter of law. Unreasonable delay claims are not
16   proper for class resolution because applicable precedent does not support imposition of a one-size-
17   fits-all deadline absent a statutory or regulatory deadline. “[C]ourts generally apply the so-called
18   TRAC factors in deciding whether to order relief in claims of agency delay brought under the
19   APA.” Independence Min. Co., Inc. v. Babbitt, 105 F.3d 502, 507 (9th Cir.1997). The TRAC factors
20   are:
            (1) the time agencies take to make decisions must be governed by a “rule of
21
            reason”[;] (2) where Congress has provided a timetable or other indication of the
22          speed with which it expects the agency to proceed in the enabling statute, that
            statutory scheme may supply content for this rule of reason [;] (3) delays that might
23          be reasonable in the sphere of economic regulation are less tolerable when human
            health and welfare are at stake[;] (4) the court should consider the effect of
24
            expediting delayed action on agency activities of a higher or competing priority[;]
25          (5) the court should also take into account the nature and extent of the interests
            prejudiced by the delay[;] and (6) the court need not “find any impropriety lurking
26          behind agency lassitude in order to hold that agency action is unreasonably
            delayed.”
27
     Brower v. Evans, 257 F.3d 1058, 1068 (9th Cir.2001). Determining “the nature and extent of the
28

                                                   13                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 17 of 29




 1   interests prejudiced by delay” will require specific factual inquiries relevant to individual asylum
 2   seekers, and the alleged length of delay itself, and whether it has been “unreasonably” long, 5
 3   U.S.C. § 706(1), will be different for each class member. A delay of a credible fear hearing beyond
 4   ten days, even were the Court to find it unreasonable for some plaintiffs under the circumstances,
 5   is unlikely to be unreasonable for all asylum seekers. As the APA provision and TRAC factors
 6   indicate, resolution of these claims would turn on a reasonability analysis particular to the
 7   circumstances that is not susceptible to a bright-line ten day rule. “‘[R]easonableness, by its very
 8   nature, is a fact-dependent inquiry requiring an assessment of all of the circumstances of any given
 9   case.’ A bright-line approach strips away the essence of a reasonableness standard.” Sopo v. U.S.
10   Att’y Gen., 825 F.3d 1199, 1215 (11th Cir. 2016), vacated, 890 F.3d 952 (11th Cir. 2018) (quoting
11   Diop v. ICE/Homeland Sec., 656 F.3d 221, 234 (3d Cir. 2011)). Because unreasonable delay cases
12   are properly adjudicated in individual cases, the Court should dismiss any such claim by the
13   putative class, in addition to dismissing the moot delay claim of the named Plaintiffs.
14   II.    The bond hearing class claims should be dismissed.

15          A.      The bond hearing class’s constitutional claim must be dismissed for failure to
                    state a claim (Count I).
16
            Plaintiffs raise a host of constitutional challenges to the bond procedures—ranging from
17
     the timing of the hearings to the standards and burdens to the adequacy of the appellate record.
18
     None of these challenges state a plausible claim for the type of blanket relief sought. Plaintiffs are
19
     aliens who were apprehended at or near ports of entry, have not been admitted, and fall within the
20
     category of aliens who have no substantive right to release on bond, let alone a certain process for
21
     determining how or when such review of a custody determination should take place. Barrera v.
22
     Rison, 44 F.3d 1441, 1449-50 (9th Cir. 1995) (en banc), cert. denied, 516 U.S. 976 (1995). The
23
     bond hearing class’s baseline interest in release, therefore, is not sufficiently high to state a claim
24
     for a constitutional entitlement to a bond hearing within seven days or to entitle Plaintiffs to set
25
     aside settled bond procedures. Plaintiffs’ claims should be dismissed under Rule 12(b)(6).
26                   1. There is no entitlement to a bond hearing within seven days of the positive fear
                     finding.
27
28

                                                   14                      Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 18 of 29




 1          Once a positive credible fear is established, the detention and release of the putative bond
 2   hearing class is governed by § 1226(a). Matter of X-K-, 23 I. & N. Dec. at 732-735. Every such
 3   alien is individually considered for release on bond. 8 C.F.R. § 236.1(c)(8). An ICE officer assesses
 4   whether the alien has “demonstrate[d]” that “release would not pose a danger to property or
 5   persons, and that the alien is likely to appear for any future proceeding.” Id. If the officer denies
 6   bond (or sets a bond the alien thinks is too high), the alien may ask an IJ for a redetermination of
 7   the custody decision. 8 C.F.R. §§ 236.1(d)(1), 1003.19, 1236.1(d)(1). The alien may appeal the
 8   IJ’s custody redetermination to the BIA. 8 C.F.R. §§ 236.1(d)(3)(i), 1236.1(d)(3)(i). And if the
 9   alien is denied bond or fails to post bond, he may later obtain another hearing by showing that
10   “circumstances have changed materially.” 8 C.F.R. § 1003.19(e).
11          That is ample process, especially for aliens who were apprehended at or near ports of entry
12   and have had only the most minimal of contacts with the United States. As described, section
13   1226(a) procedures are easy to access and provide the alien with sufficient opportunity to obtain
14   initial and subsequent bond hearings. In the face of no statutorily-mandated deadline, leaving
15   scheduling determinations to the immigration courts appropriately balances the immigration
16   court’s interest in docket management while allowing them the flexibility to adapt to fluctuations
17   in cases and to make prioritization decisions. Given these considerations, and the fact-specific
18   inquiry required for Plaintiffs’ due process (and related APA challenges), they cannot state a claim
19   for an unbending seven-day bond hearing rule. The claim should therefore be dismissed under
20   Rule 12(b)(6).
                      2. Even if a hearing is ordered, there is no legal basis for departing from the
21
                      burdens and standards employed under section 1226(a).
22
            Plaintiffs also seek to shift the burden to the government in these bond hearings. However,
23
     the Constitution does not require the government to bear the burden of establishing that the alien
24
     will be a flight risk or danger to justify temporary detention pending removal proceedings. The
25
     Supreme Court has consistently affirmed the constitutionality of detention pending removal
26
     proceedings notwithstanding that the government has never borne the burden to justify that
27
     detention by clear-and-convincing evidence. E.g., Demore v. Kim, 538 U.S. 510, 531 (2003); Reno
28

                                                    15                     Department of Justice, Civil Division
                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 19 of 29




 1   v. Flores, 507 U.S. 292, 306 (1993); Carlson v. Landon, 342 U.S. at 524, 538 (1952); see Zadvydas
 2   v. Davis, 533 U.S. 678, 701 (2001); see also Jennings, 138 S. Ct. at 882 (Breyer, J., dissenting)
 3   (“[B]ail proceedings should take place in accordance with the customary rules of procedure and
 4   burdens of proof rather the special rules that the Ninth Circuit imposed.”). In fact, the Supreme
 5   Court has repeatedly upheld detention pending removal proceedings on the basis of a categorical,
 6   rather than individualized, assessment that a valid immigration purpose warranted interim custody.
 7   Flores, 507 U.S. at 306; Carlson, 342 U.S. at 538.
 8          In the related context of section 1226(c), Demore upheld mandatory detention for criminal
 9   aliens, which expressly puts the burden on the alien in the only situation in which release is
10   permitted—if it is “necessary” for witness protection and “the alien satisfies the Attorney General”
11   that he “will not pose a danger to the safety of other persons or of property and is likely to appear
12   for any scheduled proceeding.” 8 U.S.C. § 1226(c)(2) (emphasis added). And in Zadvydas, this
13   Court placed the burden on the alien who is subject to potentially indefinite detention following
14   entry of a final order of removal to show “that there is no significant likelihood of removal in the
15   reasonably foreseeable future.” 533 U.S. at 701.
16          Holding that the Constitution requires the government to bear the burden of proof in bond
17   hearings under Section 1226(a) would cause practical problems that Congress has sought to
18   address. Initially, the 1917 Act provided that, when an alien is taken into custody for removal
19   proceedings, “he may be released under a bond.” § 20, 39 Stat. 891. A circuit conflict developed,
20   with some courts holding that the phrase “he may be released” meant that the alien had a
21   presumptive right to be released, and others holding that the decision rested with the government’s
22   discretion. See Carlson, 342 U.S. at 538-540. Congress responded by “enacting the precursor” to
23   Section 1226(a), which “eliminated any presumption of release pending deportation” and instead
24   expressly “committ[ed] that determination to the discretion of the Attorney General.” Flores, 507
25   U.S. at 306 (citing Carlson, 342 U.S. at 538-540).
26          In exercising that discretion, the government previously applied a presumption that non-
27   criminal aliens detained under Section 1226(a) would be released on bond, unless the government
28   could show by a preponderance of the evidence that he was a flight risk or danger. See 62 Fed.

                                                  16                     Department of Justice, Civil Division
                                                                          P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 20 of 29




 1   Reg. 10,323 (Mar. 6, 1997). Over time, however, the INS was “strongly criticized for its failure to
 2   remove aliens who are not detained.” Ibid. Accordingly, in the Illegal Immigration Reform and
 3   Immigrant Responsibility Act of 1996 (IIRIRA), Pub. L. No. 104-208, 110 Stat. 3009-546,
 4   Congress provided “budget enhancements and other legislation,” including for increased bed space
 5   to hold aliens, to “increase[] detention to ensure removal.” 62 Fed. Reg. at 10,323. The INS
 6   responded by amending its regulations to place the burden on the alien, which it concluded was
 7   “consistent with the intent of Congress” in enacting IIRIRA. Ibid. Shifting the burden back to the
 8   government, by contrast, would impede removal efforts and lead to more “failure[s] to remove
 9   aliens who are not detained.” Id. Accordingly, Plaintiffs cannot plead a claim for placing the
10   burden of proof on the alien at bond hearings.
11                  3. There is no violation of due process by not providing transcripts, recordings, or
                    “particularized” written findings of bond hearings.
12
            Plaintiffs allege that not providing a bond hearing with a transcript or recording of the
13
     hearing and specific, particularized findings with respect to any denial of release, denies plaintiffs
14
     and members of the Bond Hearing Class an adequate record to file an administrative appeal or
15
     habeas petition and therefore violates their due process rights. Due process is a “flexible” concept,
16
     and when determining if certain procedures satisfy the Constitution, there is no bright-line rule to
17
     follow. See Mathews v. Eldridge, 424 U.S. 319, 334 (1976). Here, this Court can easily conclude
18
     that not providing transcripts, recordings, or “particularized” written findings of bond hearings
19
     does not violate the Constitution.
20
            “Congress did not want detention hearings to resemble mini-trials.” United States v. Martir,
21
     782 F.2d 1141, 1145 (2d Cir. 1986). The distinction between merits hearings and preliminary
22
     hearings is reflected in the statutes and regulations governing removal proceedings and custody
23
     redetermination hearings. The statute governing removal proceedings explicitly requires a
24
     “complete record . . . of all testimony and evidence produced.” 8 U.S.C. § 1229a(b)(4)(C). The
25
     statute governing custody, in contrast, contains no specific directives. See generally 8 U.S.C. §
26
     1226. The implementing regulations codify the distinctions between the two types of proceedings.
27
     See, e.g., 8 C.F.R. § 1003.19(d) (consideration of custody matters “shall be separate and apart
28

                                                  17                      Department of Justice, Civil Division
                                                                           P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 21 of 29




 1   from, and shall form no part of, any deportation or removal hearing or proceeding”); accord Matter
 2   of Guerra, 24 I. & N. Dec. 37, 40 n. 2 (BIA 2006) (“Bond proceedings are separate and apart from
 3   the removal hearing”). The immigration judge normally only needs to prepare a Bond
 4   Memorandum as a record of the bond proceedings:
 5          The parties and the Immigration Judge are responsible for creating a full and
 6          complete record of the custody proceeding. . . . In any bond case in which the parties
            or the Immigration Judge rely on evidence from the merits case, it is necessary that
 7          such evidence be introduced or otherwise reflected in the bond record (such as
            through a summary of merits hearing testimony that is reflected in the Immigration
 8          Judge’s bond memorandum).
 9          Matter of Adeniji, 22 I. & N. Dec. 1102, 1115 (BIA 1999).
10          There is no statutory or regulatory requirement of a verbatim record. EOIR’s own manual
11   provides that bond hearings are not generally recorded. See Immigration Court Practice Manual,
12   § 9.3(e)(iii) (“Bond hearings are generally not recorded”); see also Matter of Chirinos, 16 I. & N.
13   Dec. 276, 277 (BIA 1977) (“[T]here is no right to a transcript of a bond redetermination hearing.
14   Indeed there is no requirement of a formal ‘hearing’”). But when an immigration judge believes
15   prejudice could result from informal procedures, he may adopt more formal procedures, including
16   recording the custody hearing. See Matter of Khalifah, 21 I. & N. Dec. 107, 112 (BIA 1995) (“It
17   is well settled that there is no requirement in bond proceedings for a formal hearing and that
18   informal procedures may be used so long as no prejudice results”) (emphasis added) (citation
19   omitted)).
20          The Supreme Court has declined to impose a contemporaneous verbatim record
21   requirement on criminal trials. See Mayer v. City of Chicago, 404 U.S. 189, 193–94 (1971);
22   Coppedge v. United States, 369 U.S. 438, 446 (1962); United States v. Carrillo, 902 F.2d 1405,
23   1409 (9th Cir. 1990) (citing Hardy v. United States, 375 U.S. 277, 279–82 (1964)). Thus, there is
24   no basis for this Court to impose one on immigration custody redetermination hearings, especially
25   where the full range of constitutional rights available in criminal proceedings is not required in
26   removal proceedings. See INS v. Lopez-Mendoza, 468 U.S. 1032, 1038 (1984). Accordingly, there
27   is no basis to conclude that transcripts, recordings, or “particularized” written findings of bond
28   hearings are required as a constitutional matter.

                                                  18                     Department of Justice, Civil Division
                                                                          P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 22 of 29



            B.       The bond hearing class’s APA claims should be dismissed (Count II)
 1
            Plaintiffs raise the same two categories of APA claims for the bond hearing class. Plaintiffs
 2
     challenge the government’s alleged failure to establish timelines for bond hearings and the
 3
     standards and procedures employed at those hearings as unlawful final agency actions subject to
 4
     review under 5 U.S.C. § 706(a)(2). Plaintiffs additionally seek to compel the government to
 5
     provide bond hearings (in a manner consistent with their preferred standards and procedures)
 6
     within seven days of any request under 5 U.S.C. § 706(a)(1). Plaintiffs’ challenges should be
 7
     dismissed for reasons similar to those discussed in Part I.D.
 8
                     1. The court lacks jurisdiction over Plaintiffs’ challenges to the timing, standards,
 9                   and recording of bond hearings under section 706(2) because they are not
10                   challenges to a final agency action.

11          Again, an agency action is considered final only if two elements are met: the action must

12   “mark the ‘consummation’ of the agency’s decisionmaking process” and, thus, cannot be tentative

13   or interlocutory, and “the action must be one by which ‘rights or obligations have been

14   determined,’” or from which “legal consequences will flow.” Spear, 520 U.S. at 177-78. “Indicia

15   of finality include: the administrative action challenged should be a definitive statement of an

16   agency’s position; the action should have a direct and immediate effect on the day-to-day business

17   of the complaining parties; the action should have the status of law; immediate compliance with

18   the terms should be expected; and the question should be a legal one.” Mt. Adams Veneer Co., 896

19   F.2d at 343 (citing FTC v. Standard Oil Co., 449 U.S. 232, 239-40 (1980)). These indicia are

20   lacking here.

21          First, Plaintiffs have not identified a specific policy, or even a practice, related to the timing

22   of their bond hearings. There is no policy; rather, Defendants provide bond hearings as soon as

23   reasonably possible given the circumstances and docketing realities of each particular court where

24   a bond hearing may be held. Any failure to provide a bond hearing by Plaintiffs’ arbitrary day

25   seven deadline does not “finally determine” any “rights or obligations,” and is not one “from which

26   legal consequences will flow.” Spear, 520 U.S. at 177-78.

27          Similarly, there is no final agency action for Plaintiffs to challenge regarding the recording,

28   transcribing, or making of particularized written findings. Rather, immigration judges prepare a

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                                                                             P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                                Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                     (202) 616-4458
              Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 23 of 29




 1   Bond Memorandum as part of a record of the bond proceedings if the bond decision is appealed to
 2   the Board of Immigration Appeals. Matter of Adeniji, 22 I. & N. Dec. 1102, 1115 (BIA 1999);
 3   Immigration Court Practice Manual, § 9.3(e)(iv). Similarly, EOIR’s manual provides that bond
 4   hearings are not generally recorded, but does not prohibit such a practice. See Immigration Court
 5   Practice Manual, § 9.3(e)(iii); Matter of Chirinos, 16 I. & N. Dec. 276, 277 (BIA 1977). Moreover,
 6   if an IJ believes prejudice might result from informal procedures, he should adopt more formal
 7   procedures, including recording the custody hearing. See Matter of Khalifah, 21 I. & N. Dec. 107,
 8   112 (BIA 1995) (“It is well settled that there is no requirement in bond proceedings for a formal
 9   hearing and that informal procedures may be used so long as no prejudice results[.]”) (emphasis
10   added) (citation omitted)). Thus, there is no final policy governing Plaintiffs’ challenge and
11   therefore it is not subject to review under section 706(2).
12            Finally, Plaintiffs challenge to the burden of proof at bond hearings is not a challenge to an
13   agency decision because those standards are set by statute, and not by agency action. Jennings v.
14   Rodriguez, 138 S. Ct. 830, 847-48 (2018). Accordingly, the APA does not permit review of the
15   claim.
                     2. The bond hearing class cannot show that agency action has been unreasonably
16
                     withheld as a matter of law after only seven days (Count II).
17
              The bond hearing class’s section 706(1) claim fails as a matter of law. Unreasonable delay
18
     claims are not proper for class resolution because applicable precedent does not support imposition
19
     of a one-size-fits-all deadline where that deadline is not found in statute or regulation. Rather, the
20
     reasonableness of an agency’s actions “cannot be decided in the abstract, by reference to some
21
     number of months or years beyond which agency inaction is presumed to be unlawful,” but must
22
     be evaluated in the context of competing priorities, the complexity of the issue, and the agency’s
23
     resources. Mashpee Wampanoag Tribal Council, Inc. v. Norton, 336 F.3d 1094, 1102 (D.C. Cir.
24
     2003). Because there is no statutory or regulatory seven day rule on which to base their claim,
25
     Plaintiffs cannot, based the individualized analysis required under section 706(1), plead a uniform
26
     “unreasonable delay” in all instances where a bond hearing is not scheduled within seven days
27
     without reference to the facts and circumstances surrounding the scheduling of that hearing. See
28

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                                                                            P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 24 of 29




 1   supra Part I.D.2.
 2          C.      None of the individual Plaintiffs can state a claim for relief based on the
                    timing of their bond hearings or the procedures available under section
 3                  1226(a).
 4          As an initial matter, named Plaintiffs’ bond claims are all moot. Plaintiffs have been
 5   afforded bond hearings and have subsequently been released from immigration custody. ECF No.
 6   26 at ¶¶ 15, 115, 17, 121, 125. Plaintiffs therefore lack a legally cognizable interest in the outcome
 7   of the case. Powell v. McCormack, 395 U.S. 486, 496 (1969). Because federal courts are courts of
 8   limited jurisdiction, “a federal court has no authority to give opinions upon moot questions or
 9   abstract propositions, or to declare principles or rules of law which cannot affect the matter in issue
10   in the case before it.” Church of Scientology of Cal. v. United States, 506 U.S. 9, 12 (1992).
11   Plaintiffs’ claims should be accordingly dismissed as moot.
12          Plaintiffs’ claims also fail as a matter of pleading. None of the Plaintiffs availed themselves
13   of the full panoply of process available under section 1226(a) and therefore lack standing to
14   challenge those procedures as constitutionally inadequate—especially Plaintiffs’ claims related to
15   the sufficiency of the bond record for appellate review. None of the Plaintiffs perfected an appeal
16   of their bond orders. Two accepted their bonds and waived appeal. Plaintiff Vasquez did not even
17   participate in a hearing in which he was required to carry any burden of proof or production as he
18   simply stipulated to an agreed bond amount. See Exhibit A, attached hereto. Plaintiffs’ challenges
19   to the procedures should therefore be dismissed as there is no evidence that they were harmed by
20   any of the alleged procedural deficiencies alleged by the putative bond hearing class.
21          Finally, Plaintiffs Padilla and Guzman have not stated any claim to a seven-day bond
22   hearing rule. Both were scheduled for bond hearings within days of their credible fear finding and
23   well-under Plaintiffs’ proposed seven day deadline. See ECF No. 26 ¶¶ 66, 75, 95, 99. Therefore,
24   at a minimum their bond hearing claims should be dismissed.
25   III.   The court should dismiss Count III in its entirety under both Rule 12(b)(6) and
            12(b)(1).
26
            A.      The court lacks jurisdiction over Plaintiffs’ claims brought pursuant to
27                  asylum law.
28          It is settled law that “[l]ike substantive federal law itself, private rights of action to enforce

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                                                                             P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                                Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                     (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 25 of 29




 1   federal law must be created by Congress.” Alexander v. Sandoval, 532 U.S. 275, 286–87 (2001).
 2   Far from creating such a cause of action, 8 U.S.C. § 1158 explicitly says that no such private cause
 3   of action to enforce its provisions exists: “[n]othing in this subsection shall be construed to create
 4   any substantive or procedural right or benefit that is legally enforceable by any party against the
 5   United States or its agencies or officers or any other person.” 8 U.S.C. § 1158(d)(7); see, e.g.,
 6   Ivantchouk v. U.S. Att’y. Gen., 417 F. App’x 918, 921 (11th Cir. 2011) (“Nothing in § 1158(d)
 7   creates a private right of action against the government.”); Ms. L. v. ICE, 302 F. Supp. 3d 1149,
 8   1168 (S.D. Cal. 2018) (similar).
 9          Nor does section 1225(b)(1) contain the “rights-creating language” necessary to signal a
10   private cause of action. Alexander, 532 U.S. at 288. Section 1225(b)(1) lays out the procedure that
11   DHS and EOIR must adhere to in screening, detaining, and expeditiously removing inadmissible
12   aliens detained at or near the border. “Statutes that focus on the person regulated rather than the
13   individuals protected create ‘no implication of an intent to confer rights on a particular class of
14   persons.’” Alexander, 532 U.S. at 289 (quoting California v. Sierra Club, 451 U.S. 287, 294
15   (1981)). And even were the text of section 1225(b)(1) ambiguous on this point, Congress in section
16   1252(a) spoke unequivocally that the only causes or claims arising from or related to actions or
17   procedures implementing section 1225(b)(1) that courts could hear were causes of action arising
18   under section 1252(e). 8 U.S.C. § 1252(a)(2)(A). Plaintiffs’ claims do not fall within the scope of
19   section 1252(e)(2) or (e)(3), as explained. Congressional intent to create a private cause of action
20   and private remedy is the touchstone in this inquiry. See Alexander, 532 U.S. at 286-87. If
21   Congress intended to create a private cause of action under section 1225(b)(1) outside of section
22   1252(e), it would not likely have barred federal jurisdiction over such claims, ensuring courts may
23   not award plaintiffs remedies.
24          Additionally, the international treaties addressing the United States’ other non-refoulement
25   obligations are not self-executing, but only enforceable in the immigration procedures created by
26   Congress. The INA specifies that the only enforceable rights under 8 U.S.C. § 1231(b)(3),
27   providing for withholding of removal, or the Convention Against Torture, providing for
28   withholding or deferral of removal based upon on whether the alien would more likely than not be

                                                  22                      Department of Justice, Civil Division
                                                                           P.O. Box 868 Ben Franklin Station
     DEFENDANTS’ MOTION TO DISMISS                                              Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                   (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 26 of 29




 1   tortured upon return to his country of origin, are available in removal proceedings or in a petition
 2   for review from those proceedings, see 8 U.S.C. § 1252(a)(4), which an alien seeking asylum at
 3   the border is placed in if he makes the threshold showing of a credible fear of persecution or torture,
 4   see 8 U.S.C. § 1225(b)(1)(B)(ii). Congress has barred federal district courts from hearing such
 5   claims for relief from removal. See J.E.F.M. v. Lynch, 837 F.3d 1026, 1031 (9th Cir. 2016). “[A]
 6   petition for review filed with an appropriate court of appeals in accordance with this section shall
 7   be the sole and exclusive means for judicial review of any cause or claim under the United Nations
 8   Convention Against Torture and Other Forms of Cruel, Inhuman, or Degrading Treatment or
 9   Punishment.” 8 U.S.C. § 1252(a)(4); see also id. § 1252(b)(9). The limited federal district court
10   review over expedited removal at section 1252(e) does not apply here. Plaintiffs’ claim based on
11   violation of section 1225(b)(1), asylum law, and international treaty obligations must be dismissed
12   due to lack of cause of action in this Court.
13          B.      The Complaint does not plead any violation of asylum law.

14          Plaintiffs’ vague references to international law and to various asylum regulations are not

15   sufficient to plead a cause of action for a violation of “asylum law.” Notably, Plaintiffs do not

16   allege that Defendants have violated any statute, regulations, or provision of international law,

17   but merely allege that the delays may “infringe on their ability to pursue to their asylum claims.”

18   ECF 26 at 30-31. This is not sufficient to plead a violation of “asylum law” because there is no

19   law requiring that asylum be made available in a particular manner. Because asylum continues to

20   be available to Plaintiffs, they have not stated a claim under Count III.

21   IV.    The court should strike Plaintiffs’ request for class-wide injunctive relief for lack of
            jurisdiction.
22
            The court does not have jurisdiction to enter the requested injunctions and therefore the
23
     request for injunctive relief should be struck from the Complaint. Section 1252(f)(1), entitled
24
     “Limit on injunctive relief,” provides:
25
            Regardless of the nature of the action or claim or of the identity of the party or
26          parties bringing the action, no court (other than the Supreme Court) shall have
            jurisdiction or authority to enjoin or restrain the operation of the provisions of
27
            [sections 1221-1232], other than with respect to the application of such provisions
28          to an individual alien against whom proceedings under such part have been

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     DEFENDANTS’ MOTION TO DISMISS                                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 27 of 29



            initiated.
 1
     8 U.S.C. § 1252(f)(1). The Supreme Court has confirmed that section 1252(f)(1) is a bar on
 2
     “classwide injunctive relief against the operation of §§ 1221-1231” with a narrow carve-out that
 3
     applies to “individual cases.” Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 481-
 4
     82 (1999) (emphasis added). Both the Supreme Court and the Ninth Circuit have indicated that
 5
     section 1252(f)(1) appears to bar class-wide injunctions for claim that are exceedingly similar to
 6
     Plaintiffs’ claims here. Rodriguez v. Robbins, 591 F.3d. 1105, 1120 (9th Cir. 2010) (“Rodriguez
 7
     I”) (indicating that even if section 1252(f)(1) bars constitutional claims to modified bond hearing
 8
     procedures, that bar does not apply to statutory claims); Jennings v. Rodriguez, 138 S. Ct. 830, 852
 9
     (2018) (dismissing Rodriguez I’s section 1251(f)(1) reasoning as seemingly inapplicable to
10
     constitutional challenges to bond procedures).
11
            The requested injunctions fall squarely within section 1252(f)(1)’s jurisdictional bar.
12
     Plaintiffs seek to enjoin the operation of section 1225(b) to dictate time limits that are not
13
     contemplated by statute, to overhaul the process for bond hearing under section 1226(a), and to
14
     revise the standards and burdens that govern those hearings. Accordingly, this Court lacks
15
     jurisdiction to maintain the injunction as a remedy for Plaintiffs’ claims on a class-wide basis. The
16
     relief must, therefore, be struck or class certification denied.
17
                                               CONCLUSION
18
            For the foregoing reasons, the Court should dismiss the Second Amended Complaint.
19
20
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     DEFENDANTS’ MOTION TO DISMISS                                             Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                                  (202) 616-4458
            Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 28 of 29



     Dated: September 6, 2018                 Respectfully submitted,
 1
 2                                            JOSEPH H. HUNT
                                              Assistant Attorney General
 3                                            Civil Division
 4
                                              WILLIAM C. PEACHEY
 5                                            Director
                                              Office of Immigration Litigation,
 6                                            District Court Section
 7
                                              EREZ REUVENI
 8                                            Assistant Director

 9                                            /s/Lauren C. Bingham
                                              LAUREN C. BINGHAM
10
                                              Trial Attorney
11                                            United States Department of Justice
                                              Civil Division
12                                            Office of Immigration Litigation,
                                              District Court Section
13
                                              P.O. Box 868, Ben Franklin Station
14                                            Washington, DC 20044
                                              Phone: (202) 616-4458
15                                            Lauren.C.Bingham@usdoj.gov
16
                                              JOSEPH A. DARROW
17                                            Trial Attorney

18
19
20
21
22
23
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26
27
28

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     DEFENDANTS’ MOTION TO DISMISS                               Washington, D.C. 20044
     (Case No. 2:18-cv-00928-MJP)                                    (202) 616-4458
             Case 2:18-cv-00928-MJP Document 36 Filed 09/06/18 Page 29 of 29




 1                                    CERTIFICATE OF SERVICE

 2
 3           I HEREBY CERTIFY that on September 6, 2018, I electronically filed the foregoing
 4   document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
 5
     is being served this day on all counsel of record via transmission of Notices of Electronic Filing
 6
     generated by CM/ECF or in some other authorized manner for those counsel or parties who are
 7
 8   not authorized to receive electronically filed Notices of Electronic Filing.

 9                                                         /s/ Lauren Bingham
                                                           Trial Attorney
10                                                         United States Department of Justice
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                                                                         Department of Justice, Civil Division
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